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   IT IS ORDERED as set forth below:



      Date: April 21, 2020
                                                        _________________________________

                                                                 Jeffery W. Cavender
                                                            U.S. Bankruptcy Court Judge

 ________________________________________________________________




                      IN THE UNITED STATES BANKRUPTCY COURT
                           NORTHERN DISTRICT OF GEORGIA
                                  ATLANTA DIVISION

 IN RE:                                                  CASE NO. 18-70296-jwc

 JOHN MARK LONG,                                         CHAPTER: 13
           Debtor.
                                                         JUDGE: JEFFERY W. CAVENDER
 NATIONSTAR MORTGAGE LLC D/B/A MR.
 COOPER,
          Movant,

 v.

 JOHN MARK LONG ,Debtor                                  CONTESTED MATTER
 LEA C LONG, Co-Debtor
 NANCY J. WHALEY, Trustee,
           Respondent(s).


  CONSENT ORDER ON MOTION FOR RELIEF FROM STAY AND CO-DEBTOR STAY
                                         (#31)
     The above styled Motion having been scheduled for a hearing before the Court on April 7,

2020, upon Notice of Assignment of Hearing to each of the above-captioned parties in interest,

and it appearing to the Court that the parties consent hereto:
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       FURTHER IT IS HEREBY ORDERED that the Motion for Relief from Stay with respect

to 4556 Duane Drive, Buford, Georgia 30519 is denied, as the parties herein agree that the

interest of Movant is adequately protected by payment and performance as more particularly set

forth hereinafter.

       FURTHER ORDERED that the post-petition arrearage through April 1, 2020, totals

$5,860.12, including four (4) payments of $1,207.28 each, $181.00 for a filing fee and $850.00

in reasonable attorney's fees.

       This arrearage shall be paid as follows:

       Debtor shall receive a credit of $1,204.78 in suspense. Debtor is ordered to pay
       the sum of $1,207.28 (instanter). Beginning May 1, 2020, Debtor shall resume
       timely remittance of the regular monthly mortgage payments. Beginning May 15,
       2020 and continuing on the 15th day of each subsequent month, Debtor shall pay
       an additional $383.12 per month, for eight (8) months and one (1) month of
       $383.10 or until the arrearage is cured. Payments should be sent to:

       Nationstar Mortgage LLC d/b/a Mr. Cooper
       Bankruptcy Claims Payments
       P.O. Box 619094
       Dallas, TX 75261-9741

       or to such address as may be designated. It is


       FURTHER ORDERED that should Debtor(s) default in payment of any sum specified

herein, or in any regular monthly mortgage payments which come due according to Movant’s

Loan Documents for a period of eighteen (18) months from the date of entry of this order, then

upon notice of default sent by first class mail to Debtor(s), attorney for Debtor(s) and the

Trustee, and failure of Debtor(s) to cure such default within ten (10) days from the date of receipt

of such notice, Movant may file a motion and affidavit of default, with service upon Debtor(s),

attorney for Debtor(s) and the Trustee, and the Court may enter an Order modifying the

automatic stay, without further notice or hearing.
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       FURTHER ORDERED that in the event relief from the automatic stay is later granted,

the Trustee shall cease funding any balance of Movant’s claim, and the provisions of Fed. R.

Bank. P. 4001(a)(3) may be waived.

       FURTHER ORDERED that upon completion of any foreclosure sale, any funds in excess

of the amount due to Movant and to any subordinate lienholder(s) properly entitled to receive

proceeds under applicable State Law that would otherwise be payable to the Debtor(s), shall be

paid to the Trustee for the benefit of the Estate while the Debtor(s) remains in bankruptcy.

       FURTHER ORDERED that there having been no appearance by the Co-Debtor(s), the

Motion for Relief from the Co-Debtor Stay is granted.



                                    [END OF DOCUMENT]

CONSENTED TO BY:

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_/s/ Howard P. Slomka____________________ with express permission
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NO OPPOSITION:

_/s/ Julie M. Anania_______________________ with express permission
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